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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

JOHN SIMMONS;                                          )
DAVID MARSTERS,                                        )
by his next friend, Nancy Pomerleau;                   )
LORRAINE SIMPSON, by her guardian, Sara Spooner;       )
SHERRI CURRIN, by her guardian, Sara Spooner;          )
CAROLE CHOJNACKI, by her guardian, Sara Spooner;       )
RICHARD CAOUETTE, by his guardian, Sara Spooner;       )
DONALD GRANT, by his guardian, Sara Spooner,           )
on behalf of themselves                                )
and other similarly situated persons; and              )
MASSACHUSETTS SENIOR ACTION COUNCIL,                   )
                                                       )
               Plaintiffs,                             )            CIVIL ACTION NO.
                                                       )            22-11715
               v.                                      )
                                                       )
CHARLES D. BAKER, in his official capacity             )
as Governor of the Commonwealth of Massachusetts;      )
MARYLOU SUDDERS, in her official capacity              )
as Secretary, Executive Office of Health and           )
Human Services;                                        )
MICHAEL J. HEFFERNAN, in his official capacity         )
as Secretary of the Executive Office of Administration )
and Finance;                                           )
ELIZABETH CHEN, in her official capacity as            )
Secretary, Executive Office of Elder Affairs;          )
and AMANDA CASSEL KRAFT, in her official capacity )
as Assistant Secretary of MassHealth,                  )
                                                       )
               Defendants.                             )


                               CLASS ACTION COMPLAINT

I.     INTRODUCTION

       1.      John Simmons, David Marsters, Lorraine Simpson, Sherri Currin, Carole

Chojnacki, Richard Caouette, and Donald Grant are persons with disabilities, including older

adults with disabilities, who are languishing and often deteriorating in segregated nursing

facilities when they could be thriving in integrated community settings. Each prefers to reside in



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a more integrated residential setting, where they can live more independently, be closer to family

and friends, and participate in community activities. Federal law, including the Americans with

Disabilities Act (ADA) and Section 504 of the Rehabilitation Act of 1973 (Section 504),

provides that they be given the opportunity to reside in such settings: “the unjustified segregation

of disabled individuals in institutions is a form of disability discrimination barred by federal

law.” Brown v. District of Columbia, 928 F.3d 1070, 1072 (D.C. Cir. 2019). Yet these

individuals, and thousands of other similarly situated persons with disabilities, including

members of Massachusetts Senior Action Council, are needlessly and illegally institutionalized

and segregated in nursing facilities in Massachusetts. The individual plaintiffs and similarly

situated persons with disabilities qualify for the defendants’ system of Home and Community

Based Services (HCBS), which provides residential and other support services in the community,

but that system fails to provide adequate and appropriate residential services to all qualified

persons.

       2.      Nursing facilities are segregated residential settings. Unnecessary segregation in

nursing facilities is also dangerous. Living in segregated facilities has been linked to accelerated

mental, emotional, and physical decline. Further, over the past two and a half years during the

COVID-19 pandemic, persons with disabilities in nursing facilities have suffered unique

deprivations, including a serious risk of harm and death, and for a significant time were deprived

of almost all contact with loved ones and friends. They died at an alarming rate: one in every

seven residents of nursing facilities in Massachusetts succumbed in the COVID-19 pandemic,

which is one of the highest mortality rates in the country. At one point, nearly 66% of all deaths

in Massachusetts involved persons with disabilities who lived in nursing facilities and other




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segregated long-term care settings. In just the first six months of the pandemic, over 6,400

Massachusetts residents died in long-term institutions like nursing facilities.

        3.      COVID-19 has highlighted the inequities in healthcare and the limited choices

low-income people of color have regarding long-term care. As a result, they are more likely to

live in low-performing and under-resourced nursing facilities. Nursing facilities with higher

numbers of non-white residents have experienced higher levels of death from COVID-19.

        4.      Being institutionalized in a nursing facility has long resulted in the denial of basic

rights and other deprivations, including segregation, congregation, and isolation. Many of the

individual plaintiffs have spent years in these institutions, isolated from their families and

friends. During the COVID-19 pandemic, this isolation has at times become complete

deprivation of face-to-face contact with the world outside of the institution.

        5.      People with disabilities in nursing facilities are routinely subjected to a regimen

often dictated by the needs of the institutions, with little to no control over basic choices, such as

when to eat, when to go to bed, or what to do during the day. They rarely or never leave the

nursing facility to return to their homes and communities, and almost never attend social,

recreational, and religious activities of their choosing outside of the facility.

        6.      The hardships of institutionalization are most acutely felt by people of color, who

fare poorly in nursing facilities compared to white residents. For example, Black residents

experience increased physical restraints, indwelling catheters, and psychotropic medications as

compared to white residents. Similarly, they are more likely to have untreated or undertreated

pain.

        7.      Overall, persons with disabilities live restricted and often lonely lives in nursing

facilities in order to access the Medicaid-funded services they need, even though the defendants




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could, and must, provide the same or comparable residential and support services to them in

integrated settings in the community.

       8.       Virtually all the nursing and support services provided in a nursing facility can be

provided in the community through the Commonwealth’s HCBS programs. In fact, persons

eligible for these waiver programs must need the level of care provided in nursing facilities.

       9.       Notably, as a result of prior litigation settlements, the defendants use Medicaid

funding to promptly provide needed residential services and support to other populations,

including persons with intellectual or developmental disabilities (IDD) or acquired brain injuries

(ABI). In other words, the Commonwealth knows how to provide appropriate remedies for its

illegal segregation of people with disabilities and has done so successfully for residents with IDD

and ABI. It also knows how to provide information, opportunities, and meaningful choice about

whether to remain in a segregated nursing facility, since it does so for persons with IDD and

ABI. And it knows how to provide effective screening, evaluation, service planning, specialized

services, and case management, since it does so for persons with IDD. Its systematic failure to

do so for persons with other disabilities in nursing facilities leaves thousands of these persons

unnecessarily institutionalized in nursing facilities, in violation of the ADA, Section 504, and the

Medicaid Act.

       10.      These few opportunities to transition to the community for the thousands of

Medicaid-eligible people in nursing facilities means that qualified individuals who need

residential services and supports must wait years, if not decades, to leave nursing facilities, and

some never get to leave at all. Thus, as a direct result of the defendants’ actions and inactions,

individuals with disabilities are experiencing or will experience unnecessary and prolonged




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institutionalization in nursing facilities, due to the lack of sufficient community residential

services and supports that would allow them to live in the most integrated setting.

       11.     The defendants also fail to offer a meaningful and effective process to allow

persons with disabilities to make an informed choice whether to remain in or leave a segregated

nursing facility. The defendants fail to regularly provide relevant information to people with

disabilities in nursing facilities about community residential programs; present no opportunity to

explore and visit community residential options or engage in meaningful community activities;

make no systematic efforts to address barriers to transition; offer no accommodations for the

impact of the person’s disability on decisions concerning where to receive services; and provide

no method for ensuring that they can make an informed choice about whether to remain in a

segregated nursing facility. Similarly, there is no case management entity that is responsible for

planning and coordinating residential services that would allow persons with disabilities to

transition to community residential services.

       12.     The unnecessary segregation and isolation of persons with disabilities stems

directly from the defendants’ failure to meet their requirements under federal law. The

inadequacies of the defendants’ long-term care system include: (1) the failure to provide or fund

community residential services and supports necessary to meet the diverse needs of persons with

disabilities in nursing facilities; (2) the failure to adequately inform persons with disabilities of

HCBS options, including culturally competent1 residential services and supports; (3) the failure

to engage with persons with disabilities and accommodate their disabilities to ensure that they

can make informed choices about whether to remain in a segregated nursing facility or live in an


1
  Throughout this Complaint, “culturally competent” in the context of services means services
that are effective, equitable, understandable, respectful, and responsive to diverse cultural health
beliefs and practices, preferred languages, health literacy, and other communication needs.


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integrated community setting; and (4) the lack of case management services that could facilitate

the transition of persons with disabilities from nursing facilities to residences in the community.

       13.     The plaintiffs seek declaratory and injunctive relief to require the defendants to

provide or fund timely, culturally competent, and appropriate community residential services and

supports that would enable them to transition from segregated nursing facilities to more

integrated community living arrangements, as required by the ADA, Section 504, and the

Medicaid Act. Individuals with Serious Mental Illness (SMI) seek additional declaratory and

injunctive relief requiring the defendants to comply with the Pre-Admission Screening and

Resident Review (PASRR) requirements of the Medicaid Act, including the provision of

specialized services and active treatment to them while residing in nursing facilities.

II.    JURISDICTION AND VENUE

       14.     This action is authorized by 42 U.S.C. § 1983 to redress the deprivation under

color of state law of rights, privileges, and immunities guaranteed by federal laws and the United

States Constitution. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343(3), and

1343(4).

       15.     This action is also brought pursuant to Title II of the ADA, 42 U.S.C. § 12132,

and Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794. The defendants are public

entities subject to Title II of the ADA, and receive federal financial assistance for, among other

things, their Medicaid program, which in significant part funds the defendants’ long-term care

system, including nursing facility services and community services and supports. This Court has

jurisdiction over the claims under the ADA and Section 504 pursuant to 42 U.S.C. § 12133 and

29 U.S.C. § 794a.




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       16.     Plaintiffs’ request for declaratory relief is brought pursuant to 28 U.S.C. § 2201

and Rule 57 of the Federal Rules of Civil Procedure. Injunctive relief is authorized by 28 U.S.C.

§ 2202, 42 U.S.C. § 1983, and Rule 65 of the Federal Rules of Civil Procedure.

       17.     Venue is proper in the District of Massachusetts pursuant to 28 U.S.C. § 1391(b).

III.   PARTIES

       A.      Individual Plaintiffs

       18.     John Simmons is a 73-year-old Black man with various medical conditions and

serious mental illness. He is a Medicaid recipient and has resided for more than 60 days at the

Rehabilitation & Nursing Center at Everett, 289 Elm Street, Everett, Massachusetts.

       19.     David Marsters is a 72-year-old white man with various physical disabilities and

autism spectrum disorder. He is a Medicaid recipient and has resided for more than 60 days at

Hillcrest Commons, 169 Valentine Road, Pittsfield, Massachusetts. He brings this action

through his sister and next friend, Nancy Pomerleau.

       20.     Lorraine Simpson is a 63-year-old Jamaican Black woman who has diabetes and a

serious mental illness. She is a Medicaid recipient and has resided for more than 60 days at

Hermitage HealthCare, 383 Mill Street, Worcester, Massachusetts. She brings this action

through her court-appointed guardian, Sara Spooner, 482 Southbridge Street, Auburn,

Massachusetts.

       21.     Sherri Currin is a 54-year-old white woman who has multiple sclerosis and a

serious mental illness. She is a Medicaid recipient and has resided for more than 60 days at the

Marlboro Hills Rehabilitation and Health Care Center, 121 Northboro Road, Marlborough,

Massachusetts. She brings this action through her court-appointed guardian, Sara Spooner.




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       22.     Carole Chojnacki is a 67-year-old white woman with various medical conditions

and a serious mental illness. She is a Medicaid recipient and has resided for more than 60 days

in the Rehabilitation and Nursing Center at Everett, 289 Elm Street, Everett, Massachusetts. She

brings this action through her court-appointed guardian, Sara Spooner.

       23.     Richard Caouette is a 63-year-old white man with various medical conditions and

a serious mental illness. He is a Medicaid recipient and has resided for more than 60 days at

Bear Mountain Healthcare and Rehabilitation Center, 59 Action Street, Worcester,

Massachusetts. He brings this action through his court-appointed guardian, Sara Spooner.

       24.     Donald Grant is a 63-year-old white man with various physical disabilities and a

serious mental illness. He is a Medicaid recipient and has resided for more than 60 days at the

Worcester Rehabilitation Facility, 119 Providence Street, Worcester, Massachusetts. He brings

this action through his court-appointed guardian, Sara Spooner.

       B.      Organizational Plaintiff

       25.     Massachusetts Senior Action Council (MSAC) is a state-wide, grassroots, senior-

led organization comprised of older adults throughout the state. Members of MSAC and its

various chapters include older adults with disabilities who reside in nursing facilities and desire

to return to more integrated settings in their homes and communities, but who are unable to do so

because of the defendants’ failure to provide them with appropriate community residential

services and supports.

       26.      MSAC is dedicated to ensuring that long-term care is delivered in the most

integrated setting possible. It empowers its members to use their own voices to address key

public policy and community issues that affect their health and well-being. MSAC’s members

represent a diverse cross-section of Massachusetts’ older adult community, working together to




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eradicate health disparities in communities of color and advocating for community-driven and

community-centric solutions. MSAC has spent, and continues to spend, considerable resources

advocating for reforms in the Commonwealth’s long-term care system, for expansion of

community options needed to allow people with disabilities to live in integrated community

settings, and for racial and health equity in the provision of community supports.

       27.     MSAC brings this action on its own behalf and on behalf of its members who are

directly affected by the defendants’ actions and inactions.

       C.      Defendants

       28.     Charles D. Baker is the Governor of the Commonwealth of Massachusetts. He is

responsible for directing, supervising, and expending legislative appropriations for the executive

departments of state government, including the Executive Office of Health and Human Services

(EOHHS), the Executive Office of Administration and Finance (EOAF), and the Executive

Office of Elder Affairs (EOEA). He is also responsible for seeking, allocating, reallocating,

expending, and monitoring funds from the legislature to implement the programs and deliver the

services of those executive agencies, including all EOHHS programs for persons with

disabilities, such as its waiver programs and other programs those departments operate. The

Governor appoints the Secretaries of EOHHS, EOAF, and EOEA and approves the appointments

of other personnel at relevant departments and agencies, including MassHealth, which is the

division of EOHHS that directly administers the Commonwealth’s Medicaid program. The

Governor also is responsible for approving and ensuring the implementation of key disability

policy and long-term care policies of the Commonwealth, including compliance with the ADA

and other federal laws. Governor Baker is sued in his official capacity.




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       29.     Marylou Sudders is the Secretary of EOHHS and is responsible for the oversight,

supervision, and administration of each of the departments within EOHHS, including EOEA, the

Department of Mental Health (DMH), the Department of Public Health (DPH), the Department

of Disability Services (DDS), the Massachusetts Rehabilitation Commission (MRC), and

MassHealth. EOHHS is the Single State Agency in the Commonwealth responsible for

complying with the Medicaid Act, including requesting, spending, and accounting for the

Commonwealth’s use of Federal Financial Participation (FFP) under the Act. Secretary Sudders

is responsible for the supervision, direction, and oversight of the Commonwealth’s Medicaid

program, including all mandatory and optional Medicaid services, including HCBS waiver

programs and other services designed to enable individuals with disabilities in nursing facilities

to transition to community settings, and for persons with SMI, to receive specialized services and

active treatment. She is sued in her official capacity.

       30.     Michael J. Heffernan is the Secretary of the EOAF and is responsible for seeking,

allocating, and approving the expenditure of adequate funds from the legislature to comply with

the requirements of the Medicaid program and federal law. He is sued in his official capacity.

       31.     Elizabeth Chen, Ph.D., is the Secretary of the EOEA, an agency under the

administrative authority of EOHHS. Secretary Chen is responsible for planning, administering,

and overseeing all services for older adults, and for “administering and coordinating a

comprehensive system of long-term care benefits and services for elderly persons, including

institutional, home-based and community-based care and services.” Mass. Gen. Laws ch. 19A,

§ 1. EOEA is directly responsible for the day-to-day operation of the Frail Elder Waiver and the

Aging Service Access Points (ASAPs), which is a program designed by statute to provide




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information and referral, pre-admission screening, and care coordination to older adults. She is

sued in her official capacity.

       32.     Amanda Cassel Kraft is the Assistant Secretary of MassHealth. MassHealth is the

division of EOHHS that operates the Commonwealth’s Medicaid program. Ms. Kraft oversees

the development and execution of the Massachusetts Medicaid Plan and waiver programs,

including all Medicaid policies, procedures, contracts, and practices. As Assistant Secretary for

MassHealth, Ms. Kraft is responsible for ensuring that appropriate residential and support

services are provided to nursing facility residents seeking to leave their facilities and return to

their communities, as well as those residents with SMI in need of specialized services and active

treatment. She is sued in her official capacity.

IV.    CLASS ACTION ALLEGATIONS

       33.     Pursuant to Rules 23(a) and (b)(2) of the Federal Rules of Civil Procedure, the

individual plaintiffs bring this action on behalf of the following class: All Medicaid-eligible

persons with disabilities in the Commonwealth who have resided or will reside in a nursing

facility for at least 60 days, meet the qualifications for the Commonwealth’s HCBS community

programs, and need access to appropriate community residential services and supports2 to live in

integrated settings in the community.



2 The term “residential services and supports” means services that include provider-operated

homes in the community plus an array of support services necessary to allow individuals with
complex needs in nursing facilities to live in integrated settings in the community. These
residential services and supports currently are provided by EOHHS through its Moving Forward
Residential Waiver program. See Sec.V.D., infra. For some persons with disabilities in nursing
facilities who do not need this level of assistance, but do need an affordable and accessible
residential setting, residential services and supports include a housing subsidy for an accessible
and affordable living unit and a service coordinator/case manager who locates and arranges the
housing unit. This type of residential services and supports currently is provided by EOHHS
through its Moving Forward Community Living Waiver program, as well as through DMH’s
supported housing programs. Id. Both waiver programs and DMH’s programs have a fixed

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       34.     The individual plaintiffs also bring additional Medicaid claims on behalf of the

following subclass (referenced herein as the “PASRR subclass”): All Medicaid-eligible persons

with serious mental illness who have been admitted to, or who should be screened for admission

to, nursing facilities pursuant to 42 U.S.C. § 1396r(e)(7) and 42 C.F.R. § 483.112.

       35.     The size of the class is so numerous that joinder of all members is impracticable.

There are approximately 22,000 adults with disabilities institutionalized in Massachusetts

nursing facilities. Joinder is also impracticable because the class is dynamic, and its members

lack the knowledge and financial means to maintain individual actions.

       36.     The size of the PASRR subclass is so numerous that joinder of all members is

impracticable. There are at least 1,500 individuals with SMI residing in nursing facilities across

the Commonwealth. Joinder is also impracticable because the PASRR subclass is dynamic, and

its members lack the knowledge and financial means to maintain individual actions.

       37.     There are questions of fact common to the class, including inter alia:

               a.      Whether the defendants’ planning, funding, and administration of its long-

               term care system for persons with disabilities fail to provide residential services

               and supports in the most integrated setting, resulting in the unnecessary

               institutionalization of persons with disabilities in nursing facilities;

               b.      Whether the defendants’ policies, procedures, and practices for its long-

               term care system result in the unnecessary institutionalization of persons with

               disabilities in nursing facilities;




capacity, which is woefully inadequate to allow all qualified persons with disabilities in nursing
facilities to live in integrated settings in the community.


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      c.      Whether the defendants’ residential services and support options for

      persons with disabilities are inadequate to allow all persons with disabilities in

      nursing facilities who are qualified for community residential services and

      supports to transition to integrated residential settings in the community in a

      timely manner;

      d.      Whether the defendants fail to effectively provide persons with disabilities

      in nursing facilities with sufficient and culturally competent information,

      opportunities, and accommodations to allow all persons with disabilities to make

      an informed choice whether to remain in a segregated institution or move to

      integrated residential settings in the community;

      e.      Whether the defendants fail to provide persons with disabilities in nursing

      facilities with medically necessary case management that plans, coordinates, and

      assists in obtaining appropriate community residential services and supports that

      would allow them to live in culturally competent integrated residential settings in

      the community; and

      f.      Whether the defendants fail to provide equitable access to community

      residential services and supports to persons with disabilities in nursing facilities.

38.   There are questions of law common to the class, including inter alia:

      a.      Whether the defendants are violating the ADA and Section 504 by

      planning, funding, and administering their long-term care system in a manner that

      requires persons with disabilities to live in nursing facilities in order to receive

      necessary residential services and supports;




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      b.      Whether the defendants are violating the ADA and Section 504 by:

      (i) failing to offer and provide community residential services and supports to

      nursing facility residents with disabilities that would enable them to live in the

      most integrated setting appropriate to their needs; and (ii) utilizing eligibility

      criteria and methods of administration that have the effect of excluding

      individuals with disabilities from accessing the community residential services

      and supports they need to reside in integrated, community residential settings;

      c.      Whether the defendants are violating the ADA and Section 504 by

      planning, funding, and administering their long-term care system in a way that

      discriminates against persons with disabilities;

      d.      Whether the defendants’ failure to provide persons with disabilities in

      nursing facilities with timely access to community residential services and

      supports that would allow them to transition to the community, and their failure to

      provide timely services for persons with disabilities enrolled in a HCBS waiver

      program, violates the reasonable promptness provisions of the Medicaid Act;

      e.      Whether the defendants’ failure to provide persons with disabilities with

      information sufficient to allow them to make an informed choice of whether to

      enter or remain in a nursing facility violates the freedom of choice provision of

      the Medicaid Act; and

      f.      Whether the defendants’ administration of the freedom of choice

      provisions of the Medicaid Act, without providing nursing facility residents with

      reasonable accommodations in the choice process, violates the Medicaid Act.

39.   There are questions of fact common to the PASRR subclass, including inter alia:




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              a.      Whether the defendants fail to accurately screen and identify persons with

              a diagnosis of SMI prior to or after their admission to a nursing facility;

              b.      Whether the defendants fail to comprehensively evaluate persons with a

              diagnosis of SMI to determine if they could be served in a community setting as

              an alternative to admission to a nursing facility; and

              c.      Whether the defendants fail to comprehensively assess whether persons

              with a diagnosis of SMI need specialized services and to provide needed

              specialized services and active treatment.

       40.    There are questions of law common to the PASRR subclass, including inter alia:

              Whether the defendants are violating the PASRR provisions of the Medicaid Act

              by: (i) failing to establish a Level II evaluation program that accurately

              determines if persons with SMI who apply for admission to a nursing facility can

              be appropriately served in a more integrated community residential setting; (ii)

              failing to conduct professionally acceptable assessments to determine the

              specialized services these individuals require; and (iii) failing to provide an array

              of specialized services to persons with SMI in nursing facilities who need them in

              a manner that satisfies the federal standard for active treatment.

       41.    The individual plaintiffs’ claims are typical of the claims of the class and the

PASRR subclass.

       42.    The representative parties will fairly and adequately protect the interests of the

class and PASRR subclass. The plaintiffs will vigorously represent the interests of the unnamed

class members, and all members of the class and the PASRR subclass will benefit by these




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efforts. The interests of the class and the PASRR subclass and those of the plaintiffs are

identical.

        43.    The defendants, their agents, employees, and predecessors and successors in

office have acted or will act on grounds generally applicable to the class and the PASRR

subclass, thereby making appropriate injunctive or declaratory relief with respect to the class and

the PASRR subclass as a whole.

V.      STATEMENT OF FACTS

        A.     Statutory Framework

                (1)    The Americans with Disabilities Act and the Rehabilitation Act

        44.    On July 12, 1990, Congress enacted the ADA, establishing the most important

civil rights laws for persons with disabilities in our nation’s history.

        45.    Congress stated in its findings that “historically, society has tended to isolate and

segregate individuals with disabilities, and, despite some improvements, such forms of

discrimination against individuals with disabilities continue to be a serious and pervasive social

problem.” 42 U.S.C. § 12101(a)(2).

        46.    Congress found that “discrimination against individuals with disabilities persists

in . . . institutionalization . . . and access to public services.” 42 U.S.C. § 12101(a)(3). Congress

also found that “individuals with disabilities continually encounter various forms of

discrimination, including outright intentional exclusion . . . , segregation, and relegation to lesser

services, programs, activities, benefits, jobs, or other opportunities.” 42 U.S.C. § 12101(a)(5).

        47.    Congress further concluded that “[i]ndividuals with disabilities are a discrete and

insular minority who have been faced with restrictions and limitations, subjected to a history of

purposeful unequal treatment, and relegated to a position of political powerlessness in our




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society, based on characteristics that are beyond the control of such individuals and resulting

from stereotypic assumptions not truly indicative of the individual ability of such individuals to

participate in, and contribute to, society.” 42 U.S.C. § 12101(a)(7) (1990).

       48.     A major purpose of the ADA is to provide a clear and comprehensive national

mandate for the elimination of discrimination against individuals with disabilities and to provide

clear, strong, consistent, and enforceable standards addressing discrimination against individuals

with disabilities. 42 U.S.C. § 12101(b)(1) & (2).

       49.     Title II of the ADA applies to all “public entities,” including the defendants

herein. 42 U.S.C. § 12131(1)(b). It provides that “no qualified individual with a disability shall,

by reason of such disability, be excluded from participation in or be denied the benefits of the

services, programs, or activities of a public entity, or be subjected to any discrimination by such

entity.” 42 U.S.C. § 12132.

       50.     In Olmstead v. L.C., 527 U.S. 581 (1999), the Supreme Court held that the

unnecessary institutionalization of individuals with disabilities constitutes discrimination in

violation of Title II of the ADA. Id. at 597. In so holding, the Court made clear that public

entities must serve persons with disabilities in community-based, rather than institutional,

settings when: 1) providing community-based services is appropriate; 2) the individual does not

oppose receiving such services; and 3) the provision of community-based services can be

reasonably accommodated, considering the resources available to the entity and the needs of

other persons with disabilities. Id. at 607.

       51.     In reaching its decision in Olmstead, the Court stated that “unjustified institutional

isolation of persons with disabilities is a form of discrimination” because “[i]n order to receive

needed medical services, persons with mental disabilities, because of those disabilities,




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relinquish participation in community life.” Id. at 600-601. In addition, the Court noted that

segregation “perpetuates unwarranted assumptions that persons so isolated are incapable or

unworthy of participating in community life” and “severely diminishes the everyday life

activities of individuals, including family relations, social contacts, work options, [and]

economic independence.” Id.

       52.     The regulations implementing Title II of the ADA state that “[a] public entity

shall administer services, programs, and activities in the most integrated setting appropriate to

the needs of qualified individuals with disabilities.” 28 C.F.R. § 35.130(d). The “most

integrated setting” is the “setting that enables individuals with disabilities to interact with

nondisabled persons to the fullest extent possible.” 28 C.F.R. pt. 35, App. A, p. 450 (2010).

       53.     This Integration Mandate requires that public entities provide individuals with

disabilities with “opportunities to live, work, and receive services in the greater community, like

individuals without disabilities.” Statement of the Department of Justice on Enforcement of the

Integration Mandate of Title II of the Americans with Disabilities Act and Olmstead v. L.C.,

https://www.ada.gov/olmstead/q&a_olmstead.htm (last updated Feb. 25, 2020 / last visited

September 26, 2022). Accordingly, the defendants must provide unnecessarily institutionalized

persons and those at risk of unnecessary institutionalization, such as persons with disabilities in

nursing facilities, with “opportunities to live in their own apartments or family homes, with

necessary supports,” as well as “expand[] the services and supports necessary for [their]

successful community tenure,” rather than providing services in large congregate facilities. Id.

       54.     Section 504 of the Rehabilitation Act also prohibits discrimination on the basis of

disability. Section 504’s implementing regulations also contain an Integration Mandate, which

requires that recipients of federal funds “administer programs and activities in the most




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integrated setting appropriate to the needs of qualified handicapped persons.” 28 C.F.R.

§ 41.51(d).

       55.     The ADA and Section 504 regulations also prohibit the differential treatment of

individuals with disabilities or any class of individuals with disabilities with respect to their

opportunity to access the full range of aids, benefits, or services in any program operated by a

public entity. See 28 C.F.R. §§ 35.130(b)(1)(ii) & (b)(1)(iv), 41.51(b)(1)(ii) & (b)(1)(iv); 45

C.F.R. §§ 84.4(b)(1)(ii) & (b)(1)(iv).

       56.     The ADA and Section 504 regulations prohibit public entities from utilizing

“criteria or methods of administration” that have the effect of subjecting qualified individuals

with disabilities to discrimination, including unnecessary institutionalization, or “that have the

purpose or effect of substantially impairing accomplishment of the objectives of the public

entity’s program with respect to individuals with disabilities.” See 28 C.F.R. §§ 35.130(b)(3),

41.51(b)(3); 45 C.F.R. § 84.4(b)(4).

       57.       The ADA regulations further specify that “[a] public entity shall not impose or

apply eligibility criteria that screen out or tend to screen out an individual with a disability or any

class of individuals with disabilities from fully and equally enjoying any service program or

activity unless such criteria can be shown to be necessary for the provision of the service,

program, or activity being offered.” 28 C.F.R. § 35.130(b)(8).

       58.     Both the ADA and Section 504 also require that public entities must make

reasonable modifications in their policies, practices, or procedures when necessary to avoid

discrimination on the basis of disability, including the unnecessary segregation or

institutionalization of individuals, unless such modifications would fundamentally alter the

nature of the service, program, or activity. 28 C.F.R. § 35.130(b)(7); § 41.53.




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       59.     Thus, the ADA and Section 504, as interpreted by the Supreme Court in

Olmstead, require that public entities like the Commonwealth and EOHHS provide services to

people with disabilities in the most integrated setting. The ADA and Section 504 also prohibit

these entities from discriminating on the basis of disability; from denying persons with

disabilities equal access to their benefits, programs, and services; from employing eligibility

criteria that screen out or tend to screen out certain persons with disabilities; and from

administering their public services in a manner that denies persons with disabilities full

participation in the entity’s programs and services.

               (2)      The Medicaid Act

       60.     The reasonable promptness provision of the Medicaid Act requires that States

provide all medical services promptly, and no longer than 90 days, from the time the service is

deemed necessary or, if a HCBS program, the person is deemed eligible for the program. 42

U.S.C. § 1396a(a)(8).

       61.     The freedom of choice provision of the Medicaid Act requires that States provide

meaningful information that allows a person with a disability to make an informed choice

between institutional services, like nursing facilities, or community services, like HCBS. 42

U.S.C. § 1396n(c)(2)(C).

               (3)      The Nursing Home Reform Act Amendments to the Medicaid Act

       62.     The Nursing Home Reform Act (NHRA) of 1987 amendments to the Medicaid

Act, 42 U.S.C. § 1396r(e), which include the PASRR provisions, are part of a comprehensive

remedial statute designed to address the widespread problem of warehousing people with mental

illness and developmental disabilities in nursing facilities. Congress enacted the PASRR




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provisions of the NHRA to prevent and remedy the unnecessary admission and confinement of

people with mental illness and developmental disabilities in nursing facilities.

       63.       The PASRR provisions require a careful screening of all individuals being

considered for admission to a nursing facility to determine if they may have a mental illness.

This is referred to as the Level I PASRR screen. 42 C.F.R. § 483.128(a).

       64.     The State must then, for all persons seeking admission to a nursing facility whose

Level I PASRR screen indicates that they may have a mental illness, evaluate and determine

whether they satisfy the State's nursing facility level of care criteria, whether their needs could be

met in the community through the provision of appropriate alternative services, and whether they

could benefit from the provision of specialized services to maximize their ability for self-

determination and independence. This more in-depth evaluation is referred to as the Level II

PASRR review. 42 C.F.R. §§ 483.128(a), 483.132, 483.134.

       65.     If the Level II PASRR review determines that a person with a mental illness

requires specialized services, the State, through its State Mental Health Authority, must provide

or arrange for the provision of these services. 42 C.F.R. § 483.120(b).

       66.     PASRR reviewers are obligated to explain to the individual involved and, where

applicable, his or her legal representative, the results of the Level II PASRR evaluation,

including information regarding the individual’s ability to reside in a less restrictive community

placement, and must provide the individual and any legal representative with a copy of the

PASRR report. 42 CFR §§ 483.128(k), 483.130(l)(3).

       67.     If an individual with a mental illness is admitted to a nursing facility, periodic

reviews must be conducted whenever there is a change in the person’s condition to determine

whether the individual continues to need a nursing level of care and to require confinement in a




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nursing facility. The periodic PASRR Level II evaluations must also determine whether

specialized services are necessary to provide active treatment. 42 U.S.C. § 1396r(e)(7)(A) &

(B); 42 C.F.R. §§ 483.128(h)(5), 483.132, 483.134.

       68.     If the PASRR review determines that an individual with mental illness admitted to

a nursing facility needs specialized services, it must then be determined whether the nursing

facility can provide all needed specialized services and active treatment. If the review concludes

the facility cannot provide the required level of active treatment, or if the individual’s needs

exceed the level of services that the nursing facility does provide, the individual cannot be

admitted to that nursing facility. 42 C.F.R. § 483.126.

       69.     Thus, the Medicaid Act requires that covered services, like Medicaid-funded

HCBS, be provided promptly; that States offer Medicaid recipients information and an

opportunity to make a meaningful choice to receive community services before being

institutionalized in a nursing facility; and that, for people with mental illness, individuals be

screened prior to admission to a nursing facility, be evaluated to determine if an alternative

community placement would be appropriate, and if admitted to a nursing facility, provided a

range of specialized services necessary to treat their psychiatric condition.

               (4)     Massachusetts Equal Choice Law

       70.     The Medicaid Act’s PASRR provisions are mirrored in the Commonwealth’s

“Equal Choice Law,” Mass. Gen. Laws Ch. 118E, § 9(3), which requires the defendants to

provide pre-admission counseling and an assessment for community services to any person at

risk of entering a nursing facility. The statute applies to all individuals, regardless of disabling

condition, and is intended to avoid unnecessary segregation in a nursing facility by ensuring that




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those at risk of institutionalization are provided meaningful choices and actual service options in

the community.

       B.      The Administrative Framework

               (1)     The Commonwealth’s Medicaid Program

       71.     State participation in the Medicaid program is optional. States choosing to

receive federal matching funds for their Medicaid program must comply with the requirements

of the Medicaid Act and federal regulations promulgated by the U.S. Department of Health and

Human Services. 42 U.S.C. § 1396, 42 C.F.R. § 430 et seq.

       72.     As a condition of participating in the Medicaid program, States must submit to the

Centers for Medicare & Medicaid Services (CMS) a State Medicaid Plan (State Plan) that fulfills

the requirements of the Medicaid Act. 42 U.S.C. § 1396a(a).

       73.     The federal government pays approximately 50% of the cost of the Medicaid

services, including nursing facility services, that MassHealth provides, with the Commonwealth

funding the balance. Significantly, the federal government pays a much higher percentage

(approximately 80%) of certain administrative costs, including case management and pre-

admission screening to nursing facilities. There is no overall limit on how much the federal

government will pay for Medicaid services, i.e., if covered services are provided to eligible

beneficiaries as specified in the State Plan, the federal government must participate in sharing the

costs of those services.

       74.     According to the federal government website Medicaid.gov, as of May 2022,

approximately 1,894,844 Massachusetts residents were enrolled in the Medicaid program.

Approximately 22,000 of those Medicaid recipients reside in nursing facilities.




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               (2)     The Commonwealth Agencies that Deliver Long-Term Care Services

       75.     EOHHS is the lead state agency responsible for designing, developing,

administering, and overseeing the Commonwealth’s long-term care system, which includes both

institutions, like nursing facilities, and community programs, like HCBS. EOHHS includes,

among other sub-agencies, EOEA, MassHealth, DPH, DMH, DDS, and MRC. Each of these

agencies has direct responsibility for certain groups of persons with disabilities in nursing

facilities or for certain tasks related to nursing facilities. Each agency also has direct

responsibility for certain community components of the Commonwealth’s long-term care

system.

       76.     MassHealth funds both nursing facilities and certain HCBS programs using

Medicaid funds. DPH oversees and certifies nursing facilities. EOEA has the responsibility for

and manages most programs that serve older adults. DMH is the primary agency responsible for

providing long-term care services to persons with SMI and the PASRR program for people with

mental illness. DDS is the primary agency responsible for providing services to persons with

IDD and for administering and managing the Commonwealth’s residential habilitation waivers.

MRC has the primary responsibility for persons with physical disabilities.

       C.      The Commonwealth’s Nursing Facilities

       77.     The Medicaid Act defines a nursing facility as an institution which primarily

provides: (1) skilled nursing care; (2) rehabilitation services for those who are sick, injured, or

disabled; or (3) health-related care and services to individuals who, because of their mental or

physical condition, require care and services in an institutional setting. 42 U.S.C.

§ 1396r(a)(1)(A-C).




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        78.     Services provided in nursing facilities are defined as “services which are . . .

required to be given an individual who needs . . . on a daily basis nursing care (provided by or

requiring the supervision of nursing personnel) or other rehabilitation services which as a

practical matter can only be provided in a nursing facility on an inpatient basis.” 42 U.S.C.

§ 1396d(f).

        79.     Nursing facilities are institutions that provide residential services and supports in

a segregated setting. Despite often being called nursing “homes,” they are not real homes or

even home-like. Rather, they are residential institutions that congregate large numbers of

unrelated persons with disabilities who did not know each other before entering the facility and

have not chosen to live together.

        80.     Most nursing facilities more closely resemble medical institutions — they have

nurses’ stations, dispense medications, and sometimes use alarmed doors to monitor persons

leaving and entering the facility or its wards. Some have locked doors, accessible only with an

employee code or pass key.

        81.     There is little, if any, privacy for persons with disabilities in nursing facilities.

Individuals often share rooms with other people whom they did not know previously and with

whom they did not choose to live. They often cannot even close the doors to their own rooms.

        82.     Meals are provided based upon a schedule dictated by the institution. People with

disabilities have little choice about what and when to eat. Food selection rarely reflects the

ethnic or racial diversity of the people with disabilities in nursing facilities.

        83.     Nursing facilities are stark environments where residents have a minimal number

of personal possessions that usually cannot be secured. People with disabilities in nursing




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facilities have little, if any, choice regarding when to wake, sleep, shower, how to spend their

days, and if and when to leave the facility for “outings.”

       84.      Persons with disabilities in nursing facilities are neither integrated into, nor have

opportunities to participate in, the communities in which they live or had lived prior to admission

to the nursing facility. They have limited access to the community, and rarely participate in

community activities, such as meeting friends, attending religious services, attending civic

events, or even simply sitting outside in parks or at other public spaces.

       85.     Most persons with disabilities in nursing facilities never have the opportunity to

leave the facility — not because their condition precludes it, but simply because there are few

opportunities and limited means to do so.

       86.     Virtually all persons with disabilities in nursing facilities are denied access to

meaningful employment and education opportunities due to the segregated environment in which

they live and the limited supports that they are provided.

       87.     Many persons with disabilities in nursing facilities never receive visitors, even

before the COVID-19 pandemic.

       88.     During the pandemic, people in nursing facilities have been even more isolated.

In early April 2020, nursing facilities in Massachusetts closed to visitors, including family, to

prevent the spread of COVID-19. People living in nursing facilities went for over a year without

face-to-face visits with family and friends from their communities.

       89.     The harm of institutionalization in nursing facilities has been dramatically

magnified by COVID-19. Almost one in seven persons in nursing facilities in Massachusetts

died during COVID-19. Even after EOHHS-mandated lock downs, the use of protective

equipment and other precautions, and the provision of additional resources, persons with




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disabilities died – and continue to die – at an alarming rate. Living in a segregated and

congregated nursing facility dramatically increased the probability of premature death for

persons with disabilities.

       90.     These harms and risks are not evenly distributed even in nursing facilities.

Persons with more significant disabilities suffer and die more frequently. Black people and other

people of color with disabilities are disproportionately impacted by the pandemic and

disproportionately harmed by unnecessary institutionalization in nursing facilities. Black persons

with disabilities in nursing facilities experience higher levels of physical restraint, feeding tubes,

and psychotropic medications than their white peers.

       91.     Race-based segregation in nursing facilities is extensive and impacts quality of

care. Nursing facilities located in and targeted to persons from communities of color are

routinely more poorly resourced, have higher admission rates, are more poorly staffed, and, not

surprisingly, deliver poorer health outcomes for Black persons with disabilities.

       92.     Although nursing facilities provide a place to live, most do not provide active

treatment designed to meet the mental health needs of persons with disabilities, and particularly

people diagnosed with SMI or other cognitive disabilities. The care provided is primarily

custodial, at least for persons with disabilities who remain in these facilities for long periods.

For Black persons with Alzheimer’s dementia in nursing facilities, even custodial care can be

lacking; there is increased prevalence of unsupported diagnoses of schizophrenia; and their care

needs are more likely to be addressed through inappropriate use of psychotropic medications

than their white peers.




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        93.      Historically, there has been a shortage of qualified direct-care staff and trained

professionals, which has only compounded during the COVID-19 pandemic. Older non-white

persons with disabilities in nursing facilities had the highest rates of COVID-19 hospitalization.

        94.     The operational practice of nursing facilities is to care for people in a segregated

setting rather than to have them care for themselves in an integrated one. Consequently, older

adults and individuals with disabilities in nursing facilities often regress and deteriorate, losing

basic skills and competencies needed to live successfully in the community.

        95.     As a result of these pervasive institutional conditions, persons with disabilities in

nursing facilities suffer harm from unnecessary confinement in segregated facilities, when they

could receive the same services and supports in an integrated community residential setting.

        D.      The Commonwealth’s Community Services for Persons with Disabilities

        96.     Virtually all of the services provided in a nursing facility can be, and in fact are,

also provided in integrated community settings. Significantly, many, if not most, individuals

currently receiving services in a nursing facility qualify for EOHHS’ HCBS waiver programs. In

fact, the eligibility criteria for these community waiver programs are identical to the eligibility

criteria for nursing facilities.

        97.     EOEA is responsible for the planning, development, and implementation of home

care programs for older adults in the Commonwealth. EOEA administers a range of programs

that are supposed to provide information, referral, needs assessment, care coordination, and

support services for eligible individuals. EOEA operates its home care programs through a

network of 24 non-profit entities called ASAPs. It delegates authority to these ASAPs to support

the older adults who participate in its home care programs, including the responsibility for

providing pre-admission counseling to avoid nursing facility admission and for conducting




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clinical eligibility determinations for long-term stays in nursing facilities. Few, if any, ASAPs

regularly provide information about community options, visits to community programs,

accommodations to ensure informed choice, and transition planning and assistance to secure

residential services and supports. While ASAPs can help divert or transition older adults from

nursing facilities who do not need residential services, ASAPs lack the capacity to provide

residential services or housing with the supports that are often needed to successfully divert or

transition older adults with disabilities from nursing facilities.

        98.     For persons with SMI, DMH plans, develops, administers, and monitors both

community residential and supports services, which are theoretically available to persons

diagnosed with SMI in nursing facilities. DMH funds, licenses, and oversees a range of

community residential services for persons with SMI, including community group homes,

apartments with live-in staff, supported housing, and subsidized, accessible housing units that are

leased by the individual with rental subsidies provided by DMH. As a practical matter, however,

DMH rarely offers its existing long-term services to persons diagnosed with SMI in nursing

facilities, and usually terminates eligibility for any existing services, like case management, once

such persons enter an institution.

        99.     Even though DMH statutorily administers the PASRR program for persons with

mental illness, which is supposed to evaluate whether persons diagnosed with mental illness who

are referred to nursing facilities could be better served in the community, virtually no persons

diagnosed with mental illness are diverted from admission. This failure to divert significantly

impacts people of color, who are diagnosed with mental illness at higher rates than their white

peers. And although the PASRR program is supposed to determine what specialized services

persons diagnosed with mental illness in a nursing facility need to actively treat their psychiatric




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disability, and although DMH is mandated by federal law to provide these specialized services,

this almost never happens.

        100.    MassHealth’s community programs, other than its capacity-limited HCBS or

Group Adult Foster Care programs, do not provide community residential services or supports

necessary to allow persons with disabilities in nursing facilities to transition to the community,

even though thousands of persons who receive long-term supports from MassHealth need

residential services in order to live or remain in the community.

        101.    For older adults who meet specific eligibility criteria (aged 60 and older, or under

60 with a diagnosis of Alzheimer’s disease or related disorder), there are only non-residential

services and supports available through MassHealth. Assisted Living Facilities (ALFs) are not

routinely available for older adults on Medicaid, and particularly for older adults from

communities of color. Moreover, the regulatory and rate structure for the ALF program preclude

providing small, integrated residential services in the community for older adults. As a result,

older adults without a home to return to in the community are often unnecessarily

institutionalized in nursing facilities.

        102.    MassHealth also administers several HCBS waiver programs,3 which provide an

array of Medicaid-funded residential and support services in the community to a small number of

individuals who meet specific eligibility criteria. Eligibility for a HCBS program is based on a

determination that the individual is Medicaid-eligible and meets the clinical requirements for

admission to a nursing facility, but could be served in the community with appropriate supports.




3
  HCBS waiver programs are authorized pursuant to 42 U.S.C. §1396(n), which allows states to
provide Medicaid services in the community without meeting (i.e. waiving) various institutional
requirements.


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Some HCBS programs provide a full-time residential setting or home, while others only provide

support services and the persons with disabilities must locate their own living arrangements.

       103.      In total, Massachusetts has 10 HCBS waiver programs serving a range of

specific populations, seven of which are limited to children or persons with specific disabilities

as a result of prior litigation, thus excluding the individual plaintiffs and others like them. Only

one – the Frail Elder Waiver – focuses on older adults, but it does not include any residential

services.

       104.     There are only two HCBS waiver programs that provide both residential services

and supports to all persons in nursing facilities and are not limited by age or disability. They are

not focused only on persons with disabilities living in nursing facilities, however, but instead

also serve individuals interested in leaving psychiatric hospitals, rehabilitation facilities, and

other health care institutions. In effect, these two waivers – the Moving Forward Residential

Habilitation and Community Living Programs (together referred to as the MFP waiver programs)

– are the only options that provide residential services and supports for persons with physical

disabilities, persons diagnosed with SMI, and older adults with disabilities in nursing facilities.

       105.    The MFP waiver programs offer a range of residential services and supports

adequate to allow most persons with disabilities to transition to the community and live in more

integrated settings. However, each is restricted to a fixed number of persons, with only 50 new

“slots” per year for persons needing residential services and 75 new “slots” per year for persons

who have their own housing but need other community supports. The capacity of these waiver

programs is plainly insufficient to meet the needs of people with disabilities in nursing facilities

for integrated long-term care services.




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       106.     The Commonwealth recently announced the renewal of a federal demonstration

program called Money Follows the Person (MFP Demonstration). This program provides some

limited outreach efforts, transition planning, and assistance in applying for community services

like the MFP waiver program. But the MFP Demonstration does not provide any community

services or supports, including residential services, to persons once they leave a nursing facility,

except for one year of case management. Such residential and support services are only

available through the MFP waiver programs.

       107.    Although the MFP waiver programs are funded by MassHealth with eligibility

determinations made by MassHealth’s partners at the University of Massachusetts, the

Residential Habilitation program is managed and administered by DDS, with oversight and

funding provided through MassHealth, due to DDS’s long experience in serving persons with

IDD and ABI in residential settings. The Community Living program is managed and

administered by MRC, with oversight and funding provided through MassHealth, due to MRC’s

experience in serving persons with physical disabilities in their own homes. Neither of these

state agencies are dedicated to serving, or even experienced with, the needs of persons with SMI

or older adults with disabilities who do not meet the eligibility requirements for other State

agency services.

               (1)     EOHHS Provides Integrated Long-Term Care for People with IDD and
                       ABI

       108.    The Commonwealth has successfully transitioned other populations from

segregated nursing facilities to integrated community living arrangements. As a direct result of

two settlement agreements to resolve ADA and Medicaid claims for persons with IDD in nursing

facilities, the Commonwealth offers two specially designed HCBS programs that offer a broad




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range of residential services and supports which are sufficient to allow virtually any person with

IDD to leave a segregated nursing facility and live in an integrated setting in the community. As

a result, more than 1,800 persons with IDD in nursing facilities – or more than 90% of all

persons with IDD who were segregated in nursing facilities 20 years ago – are now living full

lives in community homes with appropriate supports. Rolland v. Cellucci, 191 F.R.D. 3 (D.

Mass. 2000) (first settlement agreement); Rolland v. Patrick, 562 F. Supp. 2d 176 (D. Mass.

2008) (approving second settlement); Rolland v. Patrick, 946 F. Supp. 2d 226 (D. Mass. 2013)

(termination).

       109.      The Commonwealth has successfully used PASRR to identify people with IDD

who could live in the community with supports. As required by those settlement agreements, a

significantly restructured PASRR IDD program now successfully diverts most persons with IDD

away from long-term institutionalization in nursing facilities and provides an array of specialized

services and active treatment to those persons with IDD who do reside in such facilities. These

specialized services include regular opportunities to leave nursing facilities, participate in

community activities, learn about community living, and develop skills necessary for a

successful return to the community.

       110.      Each person with IDD who is admitted to a nursing facility, generally for short-

term rehabilitation, is assigned a service coordinator who develops a service and transition plan,

and who coordinates and ensures the provision of services in the nursing facility that allow the

individual to transition successfully to the community. Service coordinators are responsible for

providing persons with IDD with information about community living, facilitating visits to

community programs, addressing concerns about community supports, resolving obstacles to

community transition, accommodating the impact of IDD and institutionalization on the




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transition process, and ensuring that each person with an IDD can make an informed choice of

whether to remain in, or leave, a nursing facility.

        111.    Similarly, pursuant to two other settlement agreements entered to resolve ADA

and Medicaid claims for persons with ABI in nursing facilities, the Commonwealth created two

specially-designed HCBS programs that offer a broad range of residential services and supports

that are sufficient to allow most persons with ABI to leave a segregated nursing facility and live

in an integrated setting in the community. Hutchinson v. Patrick, 636 F.3d 1 (1st Cir. 2011),

affirming 683 F. Supp. 2d 121 (D. Mass. 2010); C.A. 07-30084-MAP (Final Comprehensive

Settlement Agreement, September 16, 2008; Amended Settlement Agreement, July 12, 2013).

As a result, more than 1,200 persons with ABI once in nursing facilities are now living

productive lives in community homes with appropriate supports.

        112.     As required by the Rolland and Hutchinson settlement agreements, staff from

DDS and MRC regularly visit nursing facilities to meet with persons with ABI and provide

information and opportunities to make an informed choice about whether to transition to the

community. Case managers are assigned to each person with ABI who is interested in

community living in order to facilitate visits to community programs, address concerns about

community supports, resolve obstacles to community transition, accommodate the impact of

disabilities and institutionalization on the transition process, arrange transitions to residential

services, and ensure that each person with a disability can make an informed choice of whether

to remain in, or leave, a nursing facility.

                (2)     EOHHS Does Not Provide Integrated Long-Term Care for Other People in
                        Nursing Facilities




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        113.    Unlike people with ABI or IDD, other persons with disabilities in nursing

facilities do not have assigned case managers who provide meaningful choices, arrange and

coordinate visits to community programs, identify housing options, facilitate transitions to

residential services, and address barriers to community-based care. Unlike their fellow nursing

facility residents with ABI or IDD, they do not have access to residential services to help them

secure housing and needed supports in the community.

        114.      Despite the statutory, regulatory, and policy mandates that require the provision

of services in the most integrated setting, the Commonwealth has not taken necessary actions to

ensure that persons with disabilities in nursing facilities, including older adults with disabilities,

can promptly access residential and support services that will allow them to transition to

integrated community settings. Instead, it has developed, implemented, and administered its

long-term care system in a manner that relies heavily on segregated nursing facilities to provide

residential care and that effectively denies persons with disabilities in nursing facilities access to

these same services in an integrated community setting.

        115.     The Commonwealth’s long-term care system: (1) lacks an adequate and

sufficient array of culturally competent, community residential services and supports to equitably

meet the needs of all persons with disabilities in nursing facilities; (2) fails to adequately and

regularly inform them of HCBS options, including residential services; (3) fails to engage and

accommodate their disabilities, to ensure that they can make an informed choice about whether

to leave or remain in a segregated facility; and (4) lacks adequate case management services that

can plan, coordinate, and monitor residential services necessary to transition persons with

disabilities from nursing facilities.




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       116.      Most persons with disabilities in nursing facilities could reside in integrated,

community-based settings if they were able to timely access, with reasonable modifications, the

full array of residential and support services that already exist and that the Commonwealth

already provides to persons with IDD or ABI in nursing facilities.

       117.    Although the defendants know that many persons with disabilities residing in

nursing facilities need residential supports and services in order to live safely in the community,

through its planning, administration, and funding of its long-term care system and the policies

and practices that govern this system, the defendants effectively restrict and/or deny these and

other necessary services. As a result, persons with disabilities in nursing facilities remain

unnecessarily institutionalized in segregated nursing facilities, often for many years or decades.

       118.    This institutionalization is not only unnecessary, it is dangerous and unlawful.

The pandemic has starkly revealed the cost – in human suffering and lives – that unnecessary

confinement in segregated and congregated nursing facilities creates. The defendants fail to

provide community residential services and supports in an integrated setting, and instead require

people with disabilities to be institutionalized in nursing facilities in order to receive these same

services. This failure creates a real and present risk of harm and death to those who remain

unnecessarily institutionalized in nursing facilities.

       119.    For persons with disabilities from communities of color, this risk is even more

pronounced. The location of nursing facilities in or near these communities, the under-

resourcing of these facilities, the increased risk of COVID-19, the more serious staffing

deficiencies, and the defendants’ failure to provide culturally competent residential services and

support in integrated settings place people of color at exceptional risk of harm.




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       120.    The defendants’ failure to develop sufficient community residential services and

supports is particularly acute for persons with disabilities from communities of color. They do

not fund or oversee a sufficient number of service providers and agencies to deliver needed

support services in and for these communities. There is no program to ensure people have

culturally competent case managers who provide information and opportunities in a manner that

allows persons with disabilities from diverse communities to make an informed choice whether

to remain in nursing facilities or return to their communities. The defendants do not collect or

report on relevant data pertaining to the needs, services, capacity, and choices of persons with

disabilities from communities of color and linguistically diverse populations.

               (3)     The Failure to Provide Community Services for Persons Diagnosed with
                       SMI

       121.    For persons with SMI, the Commonwealth, through EOHHS and DMH, fails to:

(1) accurately identify individuals diagnosed with SMI who are referred to nursing facilities;

(2) determine if they could be appropriately served in community settings instead of being

admitted to nursing facilities; (3) comprehensively assess their need for specialized services; and

(4) timely provide those services in nursing facilities. This systematic failure to administer a

PASRR program that complies with federal law results in the unnecessary institutionalization

and lack of treatment of persons diagnosed with SMI in nursing facilities.

       122.    By failing to accurately identify and evaluate persons diagnosed with SMI

referred to nursing facilities, the Commonwealth’s PASRR program significantly undercounts

the number of individuals with SMI and denies them the protections of federal law, the

opportunity for diversion from unnecessary admission, and the provision of specialized services

in nursing facilities. The failure to provide specialized services even to persons who are




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eventually identified as having SMI results in the lack of active treatment, including those

services that would allow them to transition to the community.

       123.    The defendants have long been aware of the lack of residential and support

services, regular in-reach/outreach to provide information about community living, an informed

choice process, and case management for persons with disabilities in nursing facilities. In 2008,

EOHHS developed, but then abandoned, a comprehensive nursing facility diversion and

transition program that would apply to all persons with disabilities. In 2000, 2008, and 2013,

EOHHS agreed to comprehensive reforms of its system to divert and transition persons with IDD

and ABI from nursing facilities, and then created targeted residential and support services, in-

reach and informed choices processes, and case management programs to implement these

agreements. In 2016, it added two new HCBS programs for all persons with disabilities in

nursing facilities, but limited the annual increase in capacity to 50 residential and 75 non-

residential “slots.” In 2017, it reviewed its Olmstead Plan and decided to focus primarily on

homeless persons rather than those unnecessarily institutionalized in nursing facilities who

needed residential services and supports to live in the community. Finally, it collects data every

quarter of every year which confirms that its PASRR program for persons with SMI virtually

never diverts anyone from nursing facility admission and never determines that anyone with SMI

needs specialized services.

       E.      The Impact of the Commonwealth’s Failures on the Individual Plaintiffs

               (1)     John Simmons

       124.    John Simmons is a 73-year-old Black man with pulmonary emphysema, HIV, and

a major depressive disorder. He uses a wheelchair for mobility, but can at times walk with a walker




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or cane. He is knowledgeable, friendly, and very well informed about local and national affairs.

He likes meeting and talking with other people.

       125.    Mr. Simmons has resided at The Rehabilitation & Nursing Center at Everett since

March 11, 2019. His nursing facility admission occurred following a hospitalization related to

depression.

       126.    For many years prior to his placement in a nursing facility, Mr. Simmons lived

independently in Boston in his own apartment with a Section 8 voucher that paid part of his rent

and made his apartment affordable. He met all of his personal needs without assistance. He

spent time with family and friends, occasionally dined out, managed his own funds, did his

errands, and attended all his medical appointments. As a result of his pulmonary emphysema, he

struggled to climb the stairs to reach his fourth-floor apartment.

       127.    Following several hospitalizations, Mr. Simmons lost his Section 8 voucher and

was not able to get it reinstated. He then moved in with his sister in Fall River, Massachusetts,

until the hospitalization which led to his nursing facility admission.

       128.    DMH, through its agents at the University of Massachusetts, conducted a Level II

PASRR for Mr. Simmons in March 2019. The evaluation concluded that Mr. Simmons did not

meet the criteria for mental illness, that the nursing facility was appropriate to meet his needs,

and that he did not require any specialized services. Consequently, Mr. Simmons does not

receive any specialized mental health services, any active treatment, or any consideration for

community living.

       129.    According to Mr. Simmons’ nursing facility records, his mental health has

declined during the time he has resided at the nursing facility. His depression has increased in

severity. The prospect of not returning to the community has exacerbated his depression.




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       130.    During the COVID-19 pandemic, the nursing facility imposed social restrictions

which increased Mr. Simmons’ isolation and his psychosocial deterioration. He indicated to the

facility that he wished to spend more time outside because he could not spend time indoors with

other residents and could not have any visitors, but he was told that he could not go outside.

That restriction currently remains in place. The facility insisted that he can get fresh air by going

to an outdoor patio connected to the facility, but since many staff and residents use that area to

smoke, that option is not safe due to his pulmonary emphysema.

       131.    Medical and social services professionals who have worked with Mr. Simmons

have described him as mostly independent and clearly appropriate for community living with

limited support. He did get assistance in submitting an application for an MFP waiver in

October 2020, but has been told he is on a long waiting list that extends for years.

       132.    Mr. Simmons wants to live independently in the community, in or near Boston

since that has always been his home and all his long-term medical providers are at Massachusetts

General Hospital. He could live independently with just the assistance of a weekly visit from a

nurse to assist with medication management. He can cook, shop, clean, and do all the activities

of daily living which he did prior to his nursing facility admission.

               (2)     David Marsters

       133.    David Marsters is a 72-year-old white man who was born with a developmental

disability. In 2020, he received a new diagnosis of a high-functioning form of autism spectrum

disorder. He is an outgoing, affable person who likes playing guitar, listening to music, rooting

for the Philadelphia Phillies baseball team, and collecting baseball caps and hockey jerseys.




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       134.    Mr. Marsters was admitted to the Behavioral Unit at Hillcrest Commons Nursing

& Rehabilitation in October 2016 from a DMH group home in Southwick after being

hospitalized in several medical facilities.

       135.    Before his placement in a nursing facility, Mr. Marsters lived independently in an

apartment in West Springfield, where he received services from DMH, including a case manager

and an outreach coordinator through The Carson Center in Westfield. DMH also provided

transportation for medical appointments, grocery shopping, and to the bank for his weekly

allowance. Mr. Marsters receives support from his sister, Nancy Pomerleau, in making his own

decisions about his medical care, housing, and social activities.

       136.    Mr. Marsters worked as a janitor from the 1970s until he retired around 2014.

Mr. Marsters was married for a year and a half when his wife died of cancer. He never

remarried. When he lived in his own apartment, he enjoyed listening to music, cleaning and

maintaining his apartment, and walking around his neighborhood visiting friends at nearby

stores. Mr. Marsters liked to dine out at restaurants and to go to the store to buy magazines,

household supplies, and his favorite snacks.

       137.    In 2014, after his mental health deteriorated following severe harassment from the

building maintenance staff at his apartment in West Springfield, DMH placed Mr. Marsters in

one of its residential programs for 16 months. In July 2016, DMH transferred him to a respite

program, then to another residential program, and then to several hospitals without his consent or

his sister’s knowledge. DMH eventually placed Mr. Marsters at Hillcrest Commons, a nursing

facility in Pittsfield. Each facility increased his medications, including adding several

psychotropic drugs which created significant, problematic side effects.




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       138.    Although Hillcrest Commons confines Mr. Marsters on a locked unit at the

facility, he periodically spends weekends at a family home in West Springfield, where he thrives.

The stress of living in the nursing facility’s locked unit has caused him significant frustration and

anxiety, and has resulted in a decline in his mental health.

       139.    In 2016, DMH, in its capacity as the designated PASRR authority, determined

that a nursing facility placement for Mr. Marsters was not appropriate.

       140.    A PASRR Level I resident review, conducted by DMH’s agent and dated

November 10, 2020, inaccurately found that Mr. Marsters has no documented diagnosis or

treatment history of IDD before age 22. The review states that Mr. Marsters has mood and

schizoaffective disorders and that he had one or more inpatient psychiatric hospitalizations.

Accordingly, Mr. Marsters received a positive mental health screen but was not identified as ever

having an IDD. A letter from the PASRR agency, dated November 20, 2020, notified Mr.

Marsters that its Level II evaluation concluded that he did not meet the PASRR criteria for

mental illness, and thus no specialized services were required.

       141.    On August 23, 2021, DDS completed a PASRR II evaluation and determined that

Mr. Marsters had IDD, that nursing facility level of services were required, but that no

specialized services were needed.

       142.    Mr. Marsters has at times received occupational, physical, and speech therapy, but

no ancillary services or specialized PASRR services. In 2020, his sister successfully advocated

for him to leave Hillcrest Commons three days a week and participate in a day program run by

Berkshire County Arc, though he was unable to start the program until 2021. While in the

program, Mr. Marsters has thrived when out of the nursing facility and participating in various

community activities.




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        143.   Mr. Marsters wants to live in the community and return to the West Springfield

area, where he has worked and lived his whole life. He is able to live in a community residential

setting with support.

               (3)      Lorraine Simpson

        144.   Lorraine Simpson is a 63-year-old Black woman with anxiety, depression,

hypertension, and diabetes. She is alert, friendly, pleasant. and enjoys talking to people. She is

remarkably independent and mobile, and she actively engages with visitors and staff at the

nursing facility. Her mother, brother, and two daughters live nearby in Worcester.

        145.   Ms. Simpson’s grandmother raised her. When her grandmother died, Ms.

Simpson fell into a serious depression, and moved in with one of her daughters. Ms. Simpson’s

daughter allegedly misappropriated her SSI checks and dropped her off at a homeless shelter at

the end of each month. Ms. Simpson would return to her daughter’s home, and this pattern

would be repeated. Eventually, Worcester Elder Services conducted an investigation, then

sought the appointment of a guardian based on Ms. Simpson’s “failure to thrive as an adult.”

Sara Spooner, Esq. was appointed as the temporary, and then the permanent, guardian in April

2021.

        146.   In April 2021, Ms. Simpson was hospitalized at University of Massachusetts

(UMass) Memorial Hospital in Worcester for her diabetes and related conditions. The discharge

summary from UMass Memorial listed her primary diagnosis as depression, anxiety,

hypertension, and diabetes. It did not include dementia as a diagnosis.

        147.   Nevertheless, on May 6, 2021, when Ms. Simpson was evaluated for admission to

Hermitage Healthcare, the nursing facility administered a Level I PASRR, which claimed that

she had dementia and therefore did not meet the criteria for mental illness. On May 12, 2021, a




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Level II PASRR review by DMH also concluded that Ms. Simpson did not meet the criteria for

mental illness, allegedly because of having dementia. As a result of this questionable

determination, which was contrary to her physician’s discharge diagnosis from UMass Memorial

Hospital just days before, DMH did not consider any alternatives to nursing facility admission

and did not consider her need for specialized services. Consequently, Ms. Simpson does not

receive any mental health services or active treatment in the nursing facility and has not been

considered for community living.

       148.    Additionally, physician progress notes from Hermitage Healthcare, dated May 12,

2021, note a failure to thrive, depression and anxiety, but no mention of dementia. Subsequent

progress notes between May 2021 and January 2022 describe only Ms. Simpson’s hypertension,

diabetes, and an infection from a cut on her toe.

       149.    Ms. Simpson has been prescribed psychotropic medications for depression. Notes

from the nursing facility consistently state that Ms. Simpson is a long-term patient at Hermitage

with no plan for community integration, even though in June of 2021, and repeatedly thereafter,

Ms. Simpson stated she wants to leave the facility and move into her own apartment.

       150.    Ms. Simpson has remained at the facility for over a year due to a lack of

residential and support services. She repeatedly states: “I want to regain my independence.”

Her guardian believes that she could live in the community with supervision and supports to

ensure that she is not subject to exploitation.

       151.    Ms. Simpson desperately wants to live independently in the community, cook her

own food again, and be close to her family. On information and belief, no action has been taken

by DMH to assist her to transition to the community or to apply for HCBS residential services.

               (4)     Sherri Currin




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       152.    Sherri Currin is a 54-year-old white woman with multiple sclerosis who also has

SMI and a substance use disorder (SUD). She was admitted to the Marlborough Hills

Rehabilitation and Health Care Center from Clinton Hospital on March 23, 2022.

       153.    Before entering the nursing facility, Ms. Currin lived with her partner in an

apartment in Marlborough. She received support services while living in the community, but her

partner provided the majority of her care. She also has three adult children.

       154.    Ms. Currin briefly worked as a custodian and secretary at a nail salon but was

unable to continue working due to her physical health challenges. She enjoyed living in the

community with her partner, where they watched their favorite television shows together and

participated in community activities. She benefited from home health services from the local

ASAP while living in the community.

       155.    Ms. Currin was admitted to UMass Memorial Hospital in December 2021 for

psychiatric evaluation, which determined that her severe depression caused a failure to thrive. A

guardian was appointed on December 20, 2021, based on her inability to care for herself and

failure to take prescribed medication regularly.

       156.    A PASRR Level I review, dated March 8, 2022, found that Ms. Currin has mental

illness and a substance use disorder. Based on the findings of the Level I review, DMH, through

its agents, conducted a PASRR Level II evaluation on April 8, 2022. A determination letter from

DMH, dated April 14, 2022, notified Ms. Currin that she met the criteria for mental illness and

approved her admission to the nursing facility for 90 days while a plan for transition to the

community was developed. The evaluation found that there was no need for specialized

services.




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        157.   A second determination letter from DMH, dated August 3, 2022, reiterated that

she met the criteria for mental illness, approved an extension of her stay in the nursing facility

until November 1, 2022, and continued to find that no specialized services were needed. The

second determination did not include any reason for the extension. Significantly, Ms. Currin’s

condition was noted as “stable and that she was taking her medications per her Care Plan.”

        158.   Ms. Currin receives occupational and physical therapy, but no specialized PASRR

services for her mental illness or SUD. She uses a wheelchair for mobility and requires supports

for activities of daily living, psychiatric supports, and home health care.

        159.   Ms. Currin wants to return to living in an apartment in Marlborough. She is able

to live in a community residential setting with supports (her partner is unable to care for her at

this time).

               (4)     Carole Chojnacki

        160.   Carole Chojnacki is a 67-year-old white woman who has been diagnosed with

mental illness, chronic obstructive pulmonary disease, type 2 diabetes, chronic kidney disease,

and difficulty walking. She was admitted to The Rehabilitation and Nursing Center at Everett on

April 4, 2022, following a psychiatric hospitalization. In the past, Ms. Chojnacki has been

eligible for services through DMH.

        161.   According to the nursing facility’s medical records, there has never been a

PASRR Level I or Level II evaluation done for Ms. Chojnacki, either prior to or after her

admission to the facility. The records also indicate that she does not receive any mental health

counseling or other behavioral health treatment in the facility other than psychiatric medications.

Her guardian is not aware of any mental health treatment provided for Ms. Chojnacki at the

nursing facility, other than psychiatric medications.




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       162.    Ms. Chojnacki wants to live in a less restrictive setting and needs residential

services with supports to transition to the community. Her guardian supports her discharge to a

setting that can monitor and manage her mental health behaviors as well as her medical

conditions, such as a DMH group home or other residential setting designed for people with

mental health and medical conditions. DMH currently operates such group homes for adults

with these dual needs, on a limited basis, but has not made this program available to Ms.

Chojnacki.

               (5)    Richard Caouette

       163.    Richard Caouette is a 63-year-old white man who has repeatedly expressed his

desire to return to the community, which is supported by his guardian and clinical team.

Nevertheless, he has remained in a segregated nursing facility for years.

       164.    Mr. Caouette has epilepsy, Type 2 diabetes, and SMI. He was admitted to the

Bear Mountain facility in Worcester on June 30, 2020, after receiving psychiatric care at

UMASS Memorial Hospital. Previously, he resided at a nursing facility in Southbridge,

Massachusetts since November 2019.

       165.    Mr. Caouette is an avid New England Patriots fan, regularly listens to music on

Pandora, and is a talented game player. He wants to transition to a supported living arrangement

in or near Worcester so he can go to restaurants, movies, and other community events.

       166.    Mr. Caouette is the youngest of 10 children and has a son, although he is not in

contact with his family members. He was placed under guardianship in May 2020 after suffering

a stroke. But by March 2021, his Interdisciplinary Care Plan (ICP) described him as alert, stable,

and capable of verbalizing his needs. A year later, his plan noted his continued request to be

transitioned to the community.




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       167.    A Level II PASRR evaluation conducted by DMH’s agent in August 2020

concluded that Mr. Caouette did not meet the criteria for mental illness due to unspecified

dementia and, therefore, he was not entitled to any specialized services.

       168.    Mr. Caouette has continuously expressed his desire to live in the community. Mr.

Caouette’s treatment team and his guardian agree that he can live and thrive in the community

with residential services and supports. Nevertheless, he was denied services from the MFP

waiver program due to capacity and service limitations, even though waiver services are

precisely what he needs to transition to the community.

               (6)     Donald Grant

       169.    Donald Grant is a 63-year-old white man with diabetes, respiratory disease, and

pulmonary issues. He uses a wheelchair for mobility. He was a chef for 45 years and enjoyed

deep sea fishing before his placement in a nursing facility.

       170.    Mr. Grant initially lived at Odd Fellows Home in Worcester, which conducted a

PASRR Level I screening in October 2020, leading to a PASRR Level II evaluation by DMH.

The evaluation notice, dated November 3, 2020, did not consider alternatives to a nursing facility

but simply approved his admission to the facility. It also concluded that Mr. Grant did not meet

the criteria for mental illness, and therefore was not entitled to any specialized services.

       171.    Mr. Grant subsequently was admitted to Worcester Rehabilitation and Health

Care Center on May 29, 2021, following inpatient acute medical care and an evaluation for

hyperglycemia. He still resides in that facility.

       172.    Staff at the Worcester Center requested that Mr. Grant have a psychotherapy

evaluation due to his history of personality disorder and angry outbursts. The evaluator




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determined that Mr. Grant would benefit from therapy to develop appropriate coping

mechanisms, but this has never been provided.

       173.    Mr. Grant does not want to stay at the nursing facility. He misses being

independent and living in the community. He would like to transition to a residential setting

with supports. Because of his obesity and related medical challenges, he needs considerable

assistance with basic health needs and mobility, which should be available through one of the

Commonwealth’s MFP residential waiver programs.

VI.    LEGAL CLAIMS

                                        First Claim for Relief
                                  The Americans with Disabilities Act

       174.    The plaintiffs reallege paragraphs 1 through 173 as though fully set forth herein.

       175.    The individual plaintiffs and members of the plaintiff class are qualified

individuals with disabilities within the meaning of the ADA. 42 U.S.C. § 12131(2).

       176.    The defendants are “public entities” as defined by Title II of the ADA. 42 U.S.C.

§ 12131(1).

       177.    Through the acts and omissions described above, the defendants are violating

Title II of the ADA in the following ways:

       A.      Integration Mandate

       178.    Title II of the ADA requires that “a public entity shall administer services,

programs and activities in the most integrated setting appropriate to the needs of qualified

individuals with disabilities.” 28 C.F.R. § 35.130(d).

       179.     The individual plaintiffs and members of the plaintiff class qualify for and would

benefit from community residential services and supports provided by the defendants’ HCBS




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programs. Although community programs are the most integrated setting appropriate to meet

their needs, the individual plaintiffs and members of the plaintiff class remain unnecessarily

institutionalized in nursing facilities due to the defendants’ failure to provide them timely access

to existing community residential services and support programs, and by requiring them to be

confined in segregated institutional settings in order to receive essentially the same care, in

violation of 42 U.S.C. § 12132.

       B.      Methods of Administration

       180.    Title II of the ADA requires that “a public entity may not, directly or through

contractual or other arrangements, utilize criteria or other methods of administration: (i) that

have the effect of subjecting qualified individuals with disabilities to discrimination on the basis

of disability; [or] (ii) that have the purpose or effect of defeating or substantially impairing

accomplishment of the objectives of the entity's program with respect to individuals with

disabilities.” 28 C.F.R. § 35.130(b)(3).

       181.    The defendants have developed and utilize criteria and methods of administration

for the Commonwealth’s long-term care system for persons with disabilities that exclude the

individual plaintiffs and members of the plaintiff class from timely access to residential services

and supports integrated in the community, which results in their unnecessary institutionalization

and unjustified segregation on the basis of their disability, including, inter alia, failing to inform

them of the community residential services and supports that would enable them to reside in an

integrated setting; failing to assess them for community residential services and supports; failing

to offer them a meaningful and informed choice of community residential services and supports;

and failing to afford them equal access to community residential services and supports on the

basis of their disability, all in violation of 42 U.S.C. § 12132.




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       C.         Eligibility Criteria

       182.       Title II of the ADA requires that that a public entity “not impose or apply

eligibility criteria that screen out or tend to screen out an individual with a disability or any class

of individuals with disabilities from fully and equally enjoying any service program, or activity,

unless such criteria can be shown to be necessary for the provision of the service, program, or

activity being offered.” 28 C.F.R. § 35.130(b)(8).

       183.       The defendants have developed and implemented eligibility criteria for their long-

term care system, and specifically for their HCBS programs, that screen out or tend to screen out

the individual plaintiffs and members of the plaintiff class who are residing in nursing facilities

from gaining access to or enjoying community residential services and supports, in violation of

42 U.S.C. § 12132.

       184.       The defendants have failed to provide community residential services and

supports to the individual plaintiffs and members of the plaintiff class in nursing facilities that

would allow them to transition to integrated settings in the community, even though the

Commonwealth provides residential services and supports to individuals with IDD and ABI that

have resulted in their successful transition to the community, in violation of 42 U.S.C. § 12132.

       D.         Reasonable Modifications

       185.       Title II of the ADA requires that a public entity “make reasonable modifications

in policies, practices, or procedures when the modifications are necessary to avoid discrimination

on the basis of disability, unless the public entity can demonstrate that making the modifications

would fundamentally alter the nature of the service, program, or activity.” 28 C.F.R.

§ 35.130(7)(i).




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       186.    The defendants have failed to make reasonable modifications to their policies,

practices, or procedures that would allow the individual plaintiffs and members of the plaintiff

class to obtain the integrated community residential services and supports necessary to avoid

unnecessary institutionalization in nursing facilities, in violation of 42 U.S.C. § 12132.

       187.    The defendants have failed to provide adequate information, opportunities, and

experiences necessary to allow the individual plaintiffs and members of the plaintiff class to

make an informed choice whether to remain in a segregated institution or transition to an

integrated community setting, in violation of 42 U.S.C. § 12132.

       188.    The defendants have failed to make reasonable accommodations to individual

plaintiffs and members of the plaintiff class whose condition, disability, or unnecessary

institutionalization impacts their ability to make an informed choice about community living, in

violation of 42 U.S.C. § 12132.

       189.    It would not fundamentally alter the nature of the defendants’ programs, services,

or activities to provide the individual plaintiffs and members of the plaintiff class with the

community residential services and supports necessary to allow them to live in the community.

                                        Second Claim for Relief
                                  Section 504 of the Rehabilitation Act

       190.    The plaintiffs reallege paragraphs 1 through 189 as though fully set forth herein.

       191.    The individual plaintiffs and members of the plaintiff class are qualified

individuals with disabilities under Section 504 of the Rehabilitation Act, 29 U.S.C. § 794(a).

       192.    The Commonwealth and EOHHS are recipients of federal financial assistance

subject to the requirements of Section 504.




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        193.    Section 504 requires that recipients of federal financial assistance “administer

programs and activities in the most integrated setting appropriate to the needs of qualified

handicapped persons.” 28 C.F.R. § 41.51(d).

        194.    Section 504 also prohibits recipients of federal financial assistance from

“utiliz[ing] criteria or methods of administration ... (i) [t]hat have the effect of subjecting

handicapped persons to discrimination on the basis of handicap; [or] (ii) that have the purpose or

effect of defeating or substantially impairing accomplishment of the objectives of the recipient’s

program with respect to handicapped persons.” 28 C.F.R. § 41.51(b)(3); 45 C.F.R. § 84.4(b).

        195.    The individual plaintiffs and members of the plaintiff class qualify for and would

benefit from community residential services and supports provided by the defendants’ HCBS

programs. Although community programs are the most integrated setting appropriate to meet

their needs, the individual plaintiffs and members of the plaintiff class remain unnecessarily

institutionalized in nursing facilities due to the defendants’ failure to provide them timely access

to existing community residential services and support programs, and by requiring them to be

confined in segregated institutional settings in order to receive essentially the same care, in

violation of Section 504.

        196.    The defendants have developed and utilize criteria and methods of administration

for the Commonwealth’s long-term care system for persons with disabilities that have the

purpose and effect of subjecting the individual plaintiffs and members of the plaintiff class to

unnecessary institutionalization and unjustified segregation on the basis of their disability,

including, inter alia, failing to inform them of the community residential services and supports

that would enable them to reside in an integrated setting; failing to assess them for community

residential services and supports; failing to offer them a meaningful and informed choice of




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community residential services and supports; and failing to afford them equal access to

appropriate residential services and supports on the basis of their disability, all in violation of

Section 504.

       197.    The defendants have developed and implemented eligibility criteria for their long-

term care system that screen out or tend to screen out the individual plaintiffs and members of

the plaintiff class who are residing in nursing facilities from gaining access to or enjoying

community residential services and supports, in violation of Section 504.

       198.    The defendants have failed to provide community residential services and

supports to the individual plaintiffs and members of the plaintiff class in nursing facilities that

would allow them to transition to integrated settings in the community, even though the

Commonwealth provides these residential services and supports to individuals with IDD and

ABI that have resulted in their successful transition to the community, in violation of Section

504.

       199.    The defendants have failed to make reasonable modifications to their policies,

practices, or procedures that would allow the individual plaintiffs and members of the plaintiff

class to obtain the integrated community residential services and supports necessary to avoid

unnecessary institutionalization in nursing facilities, in violation of Section 504.

       200.    The defendants have failed to provide adequate information, opportunities, and

experiences necessary to allow the individual plaintiffs and members of the plaintiff class to

make an informed choice whether to remain in a segregated institution or whether to transition to

an integrated community setting, in violation of Section 504.

       201.    The defendants have failed to make reasonable accommodations to individual

plaintiffs and members of the plaintiff class whose condition, disability, or unnecessary




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institutionalization impacts their ability to make an informed choice about community living, in

violation of Section 504.

       202.    It would not fundamentally alter the nature of the defendants’ programs, services,

or activities to provide the individual plaintiffs and members of the plaintiff class with the

community residential services and supports necessary to allow them to live in the community.

                                      Third Claim for Relief
                        Reasonable Promptness Provision of the Medicaid Act

       203.    The plaintiffs reallege paragraphs 1 through 202 as though fully set forth herein.

       204.    Title XIX of the Social Security Act requires States to provide Medicaid benefits

to all eligible persons with reasonable promptness and for as long as medically necessary. 42

U.S.C. §§ 1396a(a)(8), 1396a(a)(10)(A). Provision of services must not be delayed by the

agencies’ administrative procedures. 42 C.F.R § 435.930(a).

       205.    The defendants’ arbitrary policies, which limit the provision of medically

necessary community residential services and supports, as well as medically necessary

specialized services, result in extended delays and the outright denial of medically necessary care

to the plaintiffs and members of the plaintiff class. The community residential services and

support, as well as specialized services that the plaintiff subclass needs, are not provided with

reasonable promptness, in violation of 42 U.S.C. §§ 1396a(a)(8).

                                       Fourth Claim for Relief
                            Freedom of Choice Provision of the Medicaid Act

       206.    The plaintiffs reallege paragraphs 1 through 205 as though fully set forth herein.

       207.    Title XIX of the Social Security Act requires States to provide Medicaid-eligible

persons who qualify for their HCBS programs with a choice of living in an institution, like a




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segregated nursing facility, or in a community residence in an integrated setting. 42 U.S.C.

§ 1396n(c)(2)(B) & (C).

       208.    The defendants have failed to provide residents of nursing facilities with

disabilities with: 1) notice of and equal opportunities to apply for and access medically necessary

community residential services and supports; 2) an assessment of their eligibility for such

services; and 3) adequate information, opportunities, and experiences necessary to allow the

individual plaintiffs and members of the plaintiff class to make an informed choice whether to

remain in a segregated institution or whether to transition to an integrated community setting, in

violation of 42 U.S.C. § 1396n(c)(2)(B) & (C).

                                         Fifth Claim for Relief
                                  Nursing Home Reform Amendments
                                 On behalf of the PASRR Subclass Only

       209.    The plaintiffs reallege paragraphs 1 through 208 as though fully set forth herein.

       A.      Screening, Assessment and Placement

       210.    The NHRA requires that States develop and implement a PASRR program for all

applicants to, and residents of, Medicaid-certified nursing facilities who are suspected of having

an SMI or IDD. 42 U.S.C. § 1396r(e)(7); 42 C.F.R. § 483.100 et seq. Each State’s PASRR

program must accurately identify persons with SMI, determine if they could be served in an

alternative setting to a nursing facility, assess whether they need specialized services for the

SMI, and then ensure that such services are provided promptly. 42 U.S.C. §§ 1396r(b)(3)(F)(i),

1396r(e)(7)(A)&(B); 42 C.F.R. § 483.112, 483.116, 483.120.

       211.    The defendants have failed to develop and implement a PASRR program that

accurately screens nursing facility applicants for mental illness, assesses whether their needs

could be met in an alternative, less restrictive setting than a nursing facility, and advises them of




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the available alternatives to nursing facilities, all in violation of 42 U.S.C. §§ 1396r(b)(3)(F)(i)

and 1396r(e)(7)(A) & (B).

       B.      Specialized Services

       212.    The Level II PASRR assessment must determine whether a person with SMI

requires specialized services and, if so, must provide those specialized services in the nursing

facility. 42 U.S.C. § 1396r(e)(7)(B)(i)(II) & (C); 42 C.F.R. §§ 483.112(b), 483.114(a)(2),

483.116(b)(2), 483.120(b).

       213.    Specialized services for individuals with mental illness must include all services

which are needed to implement “a continuous and aggressive … individualized plan of care”

that, inter alia, “is directed toward diagnosing and reducing the resident’s behavioral symptoms

that necessitated institutionalization, improving his or her level of independent functioning, and

achieving a functioning level that permits reduction in the intensity of mental health services to

below the level of specialized services at the earliest possible time.” 42 C.F.R. § 483.120(a)(i).

       214.    The defendants’ failure to comprehensively assess the need for specialized

services of the individual plaintiffs diagnosed with SMI and members of the plaintiff subclass,

and the defendants’ failure to provide them with the full range of needed specialized services and

active treatment, violates the NHRA, 42 U.S.C. § 1396r(e)(7).

VII.   PRAYERS FOR RELIEF

       WHEREFORE, the plaintiffs respectfully request that this Court:

       1.      Certify this case as a class action pursuant to Fed. R. Civ. P. 23;

       2.      Grant permanent injunctive relief to remedy the defendants’ violation of the

ADA, Section 504, the Medicaid Act, and the NHRA, including requiring the defendants to:




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    (a)     Provide culturally competent community residential services and supports

    in the most integrated setting for the individual plaintiffs and members of the

    plaintiff class, consistent with their individual needs, sufficient to avoid

    unnecessary institutionalization in nursing facilities in Massachusetts, and ensure

    that services for persons with disabilities from communities of color are designed

    to be responsive to the needs of their communities;

    (b)     Provide culturally competent case management services to plan,

    coordinate, and monitor transition services, provide information and opportunities

    for the individual plaintiffs and members of the plaintiff class to learn about

    community living, and facilitate their transition into integrated settings in the

    community;

    (c)     Develop and implement a culturally competent informed choice and in-

    reach process that allows the individual plaintiffs and members of the plaintiff

    class to make an informed choice whether to remain in a segregated nursing

    facility;

    (d)     Make reasonable modifications to the policies, practices, rules, and

    requirements regarding the eligibility for and administration of the defendants’

    long-term care system in order to ensure that the individual plaintiffs and

    members of the plaintiff class receive the community residential services and

    supports needed to reside safely in integrated settings;

    (e)     Conduct comprehensive PASRR screens and assessments of the individual

    plaintiffs with SMI and members of the plaintiff subclass to determine whether




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     their needs could be appropriately met in a more integrated setting than a nursing

     facility and determine if they would benefit from specialized services;

     (f)     Provide the array of needed culturally competent specialized services and

     active treatment to individual plaintiffs with SMI and members of the plaintiff

     subclass; and

     (g)     Collect and use information, to monitor, adjust, and improve the

     modifications to the defendants’ long-term care system, including the type and

     severity of disability, and the race and ethnicity of members of the plaintiff class;

3.   Issue a declaratory judgment declaring that:

     (a)     The defendants have violated the ADA and Section 504 by failing to

     provide the individual plaintiffs and members of the plaintiff class with

     community residential services and supports in the most integrated setting,

     resulting in their needless institutionalization in nursing facilities;

     (b)     The defendants have violated the Medicaid Act by failing to provide

     community residential services and supports for persons with disabilities in

     nursing facilities, and specialized services for persons with SMI, with reasonable

     promptness;

     (c)     The defendants have violated the Medicaid Act by failing to provide

     persons with disabilities with culturally competent information and an informed

     choice of whether to receive services in segregated nursing facilities or more

     integrated settings in the community; and

     (d)     The defendants have violated the NHRA by: i) failing to properly screen

     and assess PASRR subclass members’ ability to reside in a less restrictive, more




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               integrated setting than a nursing facility; ii) inappropriately placing PASRR

               subclass members in nursing facilities; iii) failing to assess PASRR subclass

               members’ need for specialized services; and iv) failing to provide PASRR

               subclass members with specialized services, including active treatment;

       4.      Award plaintiffs their reasonable attorneys’ fees, litigation expenses, and costs

pursuant to 42 U.S.C. §§ 1988 & 12205 and 29 U.S.C. § 794a; and

       5.      Grant such other relief which is necessary and proper to protect the federal rights

of the individual plaintiffs and members of the plaintiff class.



                                              Respectfully submitted,



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